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                            IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF ILLINOIS

 RUTH JOHNSON and ERIC JOHNSON,             )
 Executor of the Estate of RAYMOND JOHNSON, )
 Deceased,                                  )
                                            )
               Plaintiffs,                  )
                                            )
       V.                                   )                No.     17 CV 1049
                                           )
                                           )
 WAYNE KAUFFMAN and LARRY                  )
 WAGNER TRUCKING, LLC,                     )
                                           )
                       Defendants.         )

                PETITION TO APPROVE WRONGFUL DEATII SETTLEMENT

        Plaintiff, ERIC JOHNSON, Executor of the Estate of RAYMOND JOHNSON, Deceased,

 through his attorneys, CAVANAGH LAW GROUP, hereby petitions this Honorable Court to approve

 the settlement in the Wrongful Death Claim against Defendants, WAYNE KAUFFMAN and LARRY

 WAGNER TRUCKING, LI,C ("Defendants"), and in support thereof, states as follows:

        A. Factual Background

1.      This case arises from a four-vehicle crash on August 18, 2017 on Interstate-70 near Auburn

Township, Clark County, Illinois. Defendant, WAYNE KAUFFMAN, a semi-truck driver, was

checking a text message and crashed his truck into the vehicle occupied by RAYMOND JOHNSON and

RUTH JOHNSON. RAYMOND JOHNSON died in the crash. RUTH JOHNSON, Dale McWilliams,

and Amy Crosier suffered injuries that required Medical care. The JOFINSONS have filed a wrongful

death lawsuit for the death of RAYMOND JOHNSON and a personal injury case for Ruth's injuries.

Dale McWilliams and Amy Crosier have made claims but have not filed lawsuits.

2.     Defendants tendered their $1,000,000.00 insuiance policy limits to all plaintiffs. Plaintiffs

undertook a diligent investigation to determine additional coverage and are satisfied that the coverage

limits arc $1,000,000.00.
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     3.      Plaintiff, RUTH JOHNSON, suffered a broken femur that required hospitalization, surgery, and

     extensive physical therapy. Her medical bills total $508,404.60. Claimant, Dale McWilliams, suffered a

  burst vertebra that required weeks long hospitalization, surgery, and extensive therapy. His medical bills

 total $489,973.28. Claimant, Amy Crosier, suffered soft tissue injuries to her neck that required physical

 therapy. Her medical bills total $91,178.15.

 4.        Attorneys for the JOHNSONS, McWilliams, and Crosier agreed the following distribution of the

 Defendants' $1,000,000 insurance policy was agreed as follows:

 Raymond Johnson, Deceased                                             $45,000
 Ruth Johnson                                                          $526,412.98
 Dale McWilliams                                                       $362,176.51
 Amy Crosier                                                           $66,410.51
 TOTAL:                                                                $1,000,000

 5.        Plaintiff, ERIC JOHNSON, is unaware of any liens outstanding on the Estate of RAYMOND

 JOHNSON, Deceased, as RAYMOND JOHNSON died at the scene of the accident.

6.         On September 20, 2018, the JOHNSON family agreed to a settlement in the Wrongful Death

case for the amount of $45,000 with Defendants. The only case that needs Court approval before

dismissal is the Wrongful Death case.

7.        For purposes of this Petition, the Illinois Wrongful Death Act, 740 ILCS 180/0.01 et seq. governs

this case.

8.        Plaintiffs have received approval for the settlement distribution from their uninsured motorist

carrier Hanover Insurance Company. If there is a recovery on the uninsured motorist claim, that recovery

will be approved by the Milford-Orange Probate Court.

          B. Petition to Approve Wrongful Death Act Settlement And Distribution of Funds

9.        The settlement has been explained to ERIC JOHNSON, Executor of the Estate of RAYMOND

JOHNSON, Deceased, by his attorneys, Timothy J. Cavanagh and Michael J. Sorich. Based upon the

facts and circumstances of this case, Plaintiff and his attorneys agree that the settlement offer of $45,000

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  is fair and reasonable and recommend the settlement to this Honorable Court. Further, Plaintiff states

  that the proposed settlement has been fully explained to him and that the settlement will extinguish any

  and all third-party claims of the Estate of RAYMOND JOHNSON, Deceased, in this matter. See

 Affidavit of ERIC JOHNSON, attached as Exhibit A.

 10.     Timothy J. Cavanagh, one of the attorneys for the Estate of RAYMOND JOHNSON, is of the

 opinion that the settlement offer is fair and reasonable under the circumstances and recommends that it

 be accepted. See Affidavit of Timothy J. Cavanagh, attached as Exhibit B.

 11.        Plaintiff entered into a contingency fee-based agreement with his attorneys, Cavanagh Law

 Group, wherein he agreed to pay his attorneys 40.333% of the gross recovery in this lawsuit, or the sum

 of $18,150 (40.333% of the $45,000 settlement). Plaintiff asks that this Court approve the distribution

 of the sum of $18,150 to Cavanagh Law Group, said amount being fair and reasonable.

 12.    The net amount distributable to the Estate of RAYMOND JOHNSON, Deceased, on the

 Wrongful Death Act claims after attorney fees is $26,850.

13. RAYMOND JOHNSON was survived by his son, ERIC JOHNSON, and wife, RUTH

JOHNSON.

14.     Pursuant to the Illinois Wrongful Death Act, 740 ILCS 180/2, in the event of the settlement of a

wrongful death case, the trial court shall rule upon the amount to be distributed to the next of kin based

upon their degree of dependency upon the deceased person.

15.    In this case, Plaintiff, his attorneys, and the next of kin are all in agreement that an equitable

finding of dependency and distribution should be as follows:

       a.      Eric Johnson          50%
       b.      Ruth Johnson          50%

See Waiver, attached as Exhibit C.

16.    Based upon the above percentages, the net amount of $26,850 to the Estate of RAYMOND

JOHNSON should be distributed as follows:
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            a.      Eric Johnson          (50%)             $13,425
            b.      Ruth Johnson          (50%)             $13,425

 17.        The wrongful death settlement will be submitted for approval to Judge Beverly K. Streit-Kefalas

 at the Milford-Orange Probate Court in the State of Connecticut.

            WHEREFORE, Plaintiff, ERIC JOHNSON, Executor of the Estate of RAYMOND JOHNSON,

 Deceased, respectfully requests this Court enter and Order approving the Wrongful Death Act settlement

 and distribution of settlement funds in this case, as follows:

       •    Approve the Wrongful Death Act settlement in the amount of $45,000, the Court fmding this

           settlement amount is fair and reasonable;

    •      Approve the payment of attorney fees to Cavanagh Law Group in the amount of $18,150, the

           Court finding this distribution to be fair and reasonable;

    •      Approve the percentage of dependency of RAYMOND JOHNSON, Deceased, as follows:

                   a.     Eric Johnson            50%
                   b.     Ruth Johnson            50%

    •      Approve the distribution of the net settlement funds to the Estate of RAYMOND JOHNSON,
           Deceased, in the amount of $45,000, as follows, pursuant to the above dependency finding:
                   a.     Eric Johnson           (50%)           $13,425
                   b.     Ruth Johnson           (50%)           $13,425

   •       ERIC JOHNSON, Executor of the Estate of RAYMOND JOHNSON, Deceased, shall have the

           authority to sign and execute the settlement releases to effectuate the settlement in this matter;

           and




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    •   This Court shall retain jurisdiction to enforce the terms of the settlement.




                       Respectfully submitted,




                            C JOHNSON, Executor of the
                         state of RAYMOND JOHNSON, Deceased




                       Timothy J. avanagh, Attorney for Plaintiff




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